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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 TQ DELTA, LLC.,

                       Movant,

                v.                                   C.A. No. 3:21-mc-220

 NOKIA OF AMERICA CORPORATION,

                       Respondent.


   TQ DELTA’S MOTION TO COMPEL NOKIA TO COMPLY WITH SUBPOENAS

       Pursuant to Fed. R. Civ. P. 45(d)(2)(B)(i), TQ Delta, LLC (“TQ Delta”) moves this Court

for an Order compelling Nokia of America Corporation (“Nokia” or “NOAC”) to comply with

TQ Delta’s Rule 45 Subpoenas of Nokia within 14 days of such Order and states as follows:

       1.      On July 6, 2021, TQ Delta served two Subpoenas (one for documents; the other

for deposition testimony) on Nokia of America Corporation, at one of its places of business at

3201 Olympus Blvd., Dallas, Texas 75019, in a case captioned TQ Delta, LLC v. Verizon

Services Corp., C.A. No. 15-cv-616-RGA (D. Del.) (the “underlying litigation”). There is no

dispute that service of the Subpoenas was proper. Copies of the Subpoenas may be found in the

accompanying Appendix (“Appx”) at pages Appx 1-43. Copies of the Proofs of Service may be

found at Appx 44-48.

       2.      In the underlying litigation, TQ Delta asserts patent infringement claims against

Verizon Services Corp. (“Verizon”). In particular, the complaint in the underlying litigation

asserts that Verizon infringes two TQ Delta patents by making and/or selling products that

implement one or more specifications (i.e., technical standards) issued by the Multimedia over

Coax Alliance (the “MoCA Specifications”). The MoCA Specifications specify a
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communications protocol for distribution of content within a consumer’s home over in-home

coaxial cable. A copy of the Complaint filed in the underlying litigation may be found at Appx

49-84.

         3.     The Subpoenas seek documents and testimony relating to products sold by Nokia

to Verizon that implement the MoCA Specifications (“Nokia MoCA Products”). See Appx 1-43.

         4.     Nokia served objections to the Subpoenas on July 26, 2021. A copy of Nokia’s

objections may be found at Appx 85-113. Nokia’s objections include the following “Objection to

Each of Request Nos. 1-20”:

         TQ Delta and NOAC (f/k/a Alcatel-Lucent USA, Inc.) entered into a Mutual
         Standstill & Confidentiality Agreement dated January 5, 2015 (the “Standstill
         Agreement”). As a part of that Standstill Agreement, TQ Delta agreed that it would
         not “institute or directly or indirectly cause to be instituted proceedings relating to
         the patents in TQD’s patent portfolio . . .” against NOAC. TQ Delta’s assertions
         relating to NOAC’s sale to Verizon of the fourteen identified “Nokia MoCA
         Product[s]” identified in definition 27 of the Subpoena violates the Standstill
         Agreement.

See Appx 88.

         5.     On August 18, 2021, counsel for TQ Delta and Nokia met and conferred for a

final time regarding Nokia’s objections to the Subpoenas. In that conference, Nokia’s counsel

stated that the sole basis upon which Nokia was refusing to comply with the Subpoenas was that

the Subpoenas violate the Standstill Agreement. Nokia’s counsel confirmed that Nokia’s refusal

to comply was not based on any other grounds. TQ Delta disputes that the Subpoenas violate the

Standstill Agreement. A copy of the Standstill Agreement may be found at Appx 114-121.

         6.     In the conference, counsel for Nokia indicated that Nokia intends to file a motion

to quash the Subpoenas, but would not commit to a date by which it would file such a motion.

Because of impending discovery deadlines in the underlying litigation, TQ Delta cannot afford to




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wait. In order to expedite resolution of the dispute and obtain the discovery it needs, TQ Delta is

filing this motion to compel Nokia’s compliance with the Subpoenas.

       7.      Pursuant to L.R. 7.1(d), the factual and legal basis for this Motion is set forth in

the accompanying Brief in Support of TQ Delta’s Motion to Compel.

       8.      TQ Delta also seeks reimbursement of fees and costs incurred by TQ Delta to

obtain Nokia’s compliance by way of this motion.



                                                      Respectfully Submitted,

                                                      /s/ Rudolph “Rudy” Fink IV

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                                CERTIFICATE OF SERVICE


       I hereby certify that on August 20, 2021, the foregoing document was electronically filed

in compliance with Local Rule CV-5(a). I hereby certify that I have served all counsel who are

deemed to have consented to electronic service or by another manner authorized by Federal Rules

of Civil Procedure 5(b)(2).


                                                    /s/ Rudolph “Rudy” Fink IV
                                                    Rudolph “Rudy” Fink IV

                              CERTIFICATE OF CONFERENCE

       Pursuant to L.R. 7.1 (b), a conference relating to this Motion was held on August 18,

2021, and counsel for Nokia indicated that Nokia would oppose a Motion to Compel. Counsel

for TQ Delta at the conference were Peter J. McAndrews and David Z. Petty, and counsel for

Nokia was M. Scott Stevens. Agreement could not be reached because, as explained above,

Nokia contends that the Subpoena violates the Standstill Agreement.



                                                /s/ Peter J. McAndrews
                                                Peter J. McAndrews




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